                      UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                             3:18-cv-00499-RJC

In re:                                    )
                                          )
CHRISTOPHER DEE COTTON                    ) Case No. 14-30287
ALLISON HEDRICK COTTON                    ) Chapter 13
                                          )
Debtors                                   )
                                          )
CHRISTOPHER DEE COTTON                    )
and                                       ) ADVERSARY NO. 17-03056
ALLISON HEDRICK COTTON,                   )
on behalf of themselves and all           )
others similarly-situated,                )
                                          )
IGNACIO PEREZ                             )
And                                       )
GABRIELA PEREZ,                           )
On behalf of themselves and all           )
others similarly-situated,                )
                                          )
Plaintiffs,                               )
                                          )
v.                                        )
                                          )
WELLS FARGO & CO. and                     )
WELLS FARGO BANK, N.A.                    )
                                          )
Defendants.                               )

     ORDER GRANTING JOINT CONDITIONAL MOTION TO WITHDRAW THE
                            REFERENCE

         THIS MATTER is before the Court on Plaintiffs’ Unopposed Motion for Leave

to File Documents Under Seal, (Doc. No. 7). Having considered the Motion, and

upon good cause being shown, the Court hereby GRANTS the motion.

         IT IS THEREFORE ORDERED that Plaintiffs may file their attorneys’ fee



                                          1

           Case 3:18-cv-00499-RJC Document 8 Filed 02/08/19 Page 1 of 2
records in support of Plaintiffs’ Motion for Attorneys’ Fees and Non-Taxable Costs

and Class Representative Service Awards, (Doc. No. 4), under seal.


                                   Signed: February 8, 2019




                                           2

         Case 3:18-cv-00499-RJC Document 8 Filed 02/08/19 Page 2 of 2
